        Case 1:25-cv-00240-ACR         Document 72          Filed 03/07/25   Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  NICOLAS TALBOTT, ERICA VANDAL, KATE                   )
  COLE, GORDON HERRERO, DANY                            )
  DANRIDGE, JAMIE HASH, MIRIAM                          )
  PERELSON, MINERVA BETTIS, AUDRIE                      )
  GRAHAM, ROAN PICKETT, AMIAH SALE,                     )
  QUINN TYSON, CLAYTON McCALLISTER,                     )
  GREYSON SHISHKINA, KODA NATURE,                       )
  CAEL NEARY, MICHELLE BLOOMROSE,                       )
  SAMUEL AHEARN, VERA WOLF, and REGAN                   )
  MORGAN,                                               )
                                                        )
                        Plaintiffs,                     )
                                                        )
  v.                                                    )
                                                        )
                                                               Civil Action No. 25-cv-240-ACR
  THE UNITED STATES OF AMERICA; PETER                   )
  B. HEGSETH, in his official capacity as Secretary     )
  of Defense; MARK AVERILL, in his official             )
  capacity as Acting Secretary of the Army; the         )
  UNITED STATES DEPARTMENT OF THE                       )
  ARMY; TERENCE EMMERT, in his official                 )
  capacity as Acting Secretary of the Navy; the         )
  UNITED STATES DEPARTMENT OF THE                       )
  NAVY; GARY ASHWORTH, in his official                  )
  capacity as Acting Secretary of the Air Force; the    )
  UNITED STATES DEPARTMENT OF THE AIR                   )
  FORCE; TELITA CROSLAND, in her official               )
  capacity as Director of the Defense Health Agency;    )
  and the DEFENSE HEALTH AGENCY,                        )
                                                        )
                    Defendants.                         )
  ________________________________________              )


       PLAINTIFFS’ RENEWED APPLICATION FOR PRELIMINARY INJUNCTION

        Pursuant to Rule 65 of the Federal Rules of Civil Procedure and Local Rule 65(c)—and as

directed by the Court’s February 25, 2025 Minute Order—and supported by the Memorandum of

Law and Declarations submitted herewith, Plaintiffs move for a preliminary injunction prohibiting
       Case 1:25-cv-00240-ACR            Document 72        Filed 03/07/25      Page 2 of 3




Defendants from implementing President Trump’s January 27, 2025 executive order (the “Order”)

and the February 26, 2025 Department of Defense Memorandum titled, “Additional Guidance on

Prioritizing Military Excellence and Readiness,” (the “Implementing Guidance”) effectively

banning transgender people from serving in the United States Armed Forces. For the reasons

discussed in the accompanying Memorandum of Law, the Order and Implementing Guidance

violate Plaintiffs’ rights to equal protection under the Fifth Amendment, and immediate injunctive

relief is necessary to prevent Plaintiffs from suffering irreparable harm as a result of the Order and

Implementing Guidance. The specific relief sought herein is described in the accompanying

Memorandum.

       A proposed order granting injunctive relief is submitted with this motion.




                                                -2-
     Case 1:25-cv-00240-ACR         Document 72      Filed 03/07/25       Page 3 of 3




DATED: March 4, 2025                           Respectfully submitted,

                                               /s/ Joseph J. Wardenski
Jennifer Levi (pro hac vice)                   Joseph J. Wardenski (D.C. Bar No. 995549)
Mary L. Bonauto (pro hac vice)                 WARDENSKI P.C.
Sarah Austin (pro hac vice)                    134 West 29th Street, Suite 709
Michael Haley (pro hac vice)                   New York, NY 10001
GLBTQ LEGAL ADVOCATES & DEFENDERS              Telephone: (347) 913-3311
18 Tremont Street, Suite 950                   joe@wardenskilaw.com
Boston, MA 02108
Telephone: (617) 426-1350
jlevi@glad.org
mbonauto@glad.org
saustin@glad.org
mhaley@glad.org

Shannon P. Minter (pro hac vice)
Christopher F. Stoll (pro hac vice)
Amy Whelan (pro hac vice)
NATIONAL CENTER FOR LESBIAN RIGHTS
870 Market Street, Suite 370
San Francisco, CA 94102
Telephone: (415) 392-6257
sminter@nclrights.org

Sara E. Kropf (DC Bar No. 481501)
KROPF MOESLEY PLLC
1100 H Street NW
Suite 1220
Washington, DC 20005
Telephone: 202-627-6900
sara@kmlawfirm.com

Inga S. Bernstein (pro hac vice)
ZALKIND DUNCAN AND BERNSTEIN LLP
65A Atlantic Avenue
Boston, MA 02110
Telephone: 617-742-6020
ibernstein@zalkindlaw.com

                                               Attorneys for Plaintiffs




                                         -3-
